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                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware

In Re:
Tribune Company
435 N. Michigan Avenue                    Chapter: 11
Chicago, IL 60611
 EIN: 36−1880355
Times Mirror Corporation


                                          Case No.: 08−13141−KJC



        NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO RESTRICTION AND
                                         REDACTION

    A transcript of the proceeding held on 12/10/08 was filed on 1/5/09 . The following deadlines apply:

    The parties have 7 days to file with the court a Notice of Intent to Request Redaction of this transcript. The
deadline for filing a request for redaction is 1/26/09 .

    If a request for redaction is filed, the redacted transcript is due 2/5/09 .

     If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 4/6/09 unless extended by court order.

    To review the transcript for redaction purposes, you may purchase a copy from the transcriber (name,
address/contact information) or you may view the document at the clerk?s office public terminal.




                                                                                   Clerk of Court
Date: 1/5/09




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